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                      IN THE UNITED STATES JUDICIAL DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 STATE OF UTAH, et. al.,
                                                       NOTICE OF
        Plaintiffs,                            OBJECTION TO AND MOTION TO
                                                STRIKE SUWA’S MOTION TO
 v.                                                     TRANSFER

 HAALAND, et. al.,                               Case No. 2:24-cv-00172-TS-DAO

         Defendants,
                                                           Judge Ted Stewart
 and                                               Magistrate Judge Daphne A. Oberg

 SUWA,

        Intervenor-Defendant.
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      Pursuant to Fed R. Civ. P. 12(f), Plaintiffs respectfully submit to the court

their objection to and motion to strike SUWA’s Motion to Transfer Case, filed with

Judge Kimball in SUWA et. al. v. BLM, et. al., 2:21-cv-00091-DAK-JCB.

                               FACTUAL BACKGROUND

      On April 30, 2024, Intervenor-Defendant SUWA filed with Judge Kimball in

SUWA et. al. v. BLM, et. al., 2:21-cv-00091-DAK-JCB, a motion to transfer this

case, State of Utah et. al. v. Haaland et. al., 2:24-cv-00172, to Judge Kimball. The

2:21-cv-00091 case is not a pending case and has been closed for two years. Judge

Kimball’s memorandum decision and order dismissing the case on May 19, 2022,

specifically notes that there is no consent decree, and that the Court did not “retain

jurisdiction or issue an order incorporating the terms of the settlement.” 2:21-cv-

00091-DAK-JCB, Dkt 60, at 3. SUWA has improperly filed its motion in a closed

case and has asked the court, without a pending case over which it has jurisdiction, to

assume jurisdiction over and transfer a case pending in this court. SUWA’s motion

is improper and should be stricken and denied.

                                        ARGUMENT

      In Support of its motion to transfer, SUWA invokes Fed.R.Civ.P. 42(a)(3) and

DUCivR 83-2(g). Neither of these rules apply to the present situation where there is

only one pending case. SUWA acknowledges as much, noting that “. . . Local Rule

83-2(g) allows for transfer when there are at least two related cases pending before


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different judges of this court.” Dkt 63 at 2. Here there is only one case, State of Utah

et. al. v. Haaland et. al., 2:24-cv-00172, pending before one judge. SUWA also

admits that Rule 42 generally only governs a court’s discretion to consolidate

pending cases. Id.

      SUWA then proceeds to argue that Rule 42 has been used as the legal basis to

transfer cases between judges even when one case has been closed, citing Payne v.

Tri-State Careflight, LLC, 327 FRD 433, 451 n.9 (D.N.M 2018) and Landis v. N.

American Co., 299 U.S. 248, 254 (1936). Payne v. Tri State is distinguishable and

completely inapposite. The case involved identical class action claims by over 70

employees against their employer, an air ambulance company. Shortly after a

settlement and dismissal in a case involving only three named plaintiffs, the New

Mexico Federal District Court granted a motion to intervene by 69 new plaintiffs,

essentially re-opening the closed case. During the pendency of the motion to

intervene some of the proposed plaintiff-Intervenors filed a separate but identical

action with the New Mexico District Court. Bell v. Tri–State CareFlight, LLC, No.

CIV 17–0796. The defendants filed a motion to consolidate the cases and transfer the

latter case to the judge assigned to the first case.

      The court’s ruling first noted that consolidating an active case with one in

which final judgment has been entered is rarely appropriate, citing Shelton v. MRI

Global, No. 11-CV-02891 (D.Colo. Feb. 26, 2014). The court then stated:


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      Here, however, these cases' unique circumstances satisfy the Court that
      consolidation would help the parties resolve their disputes most efficiently.
      Although the Court has entered Final Judgment in this case, the Court recently
      granted motions to intervene, restocking this case's docket with sixty-nine
      fresh named Plaintiffs. Whether they can or must undo the Final Judgment via
      a rule 59 or 60 motion before proceeding any further remains to be seen, but
      given that the Court has already allowed intervention, there is enough life in
      the case for consolidation to be a useful and efficient tool.

Payne v. Tri-State, at 453. The case obviously involved not just a reassignment and

transfer but a consolidation with a case that had been revived and re-opened by the

intervention of sixty-nine new plaintiffs making claims identical to those involved in

the other case.

      Landis, supra., cited by SUWA, is not even remotely factually similar to this

case. It involved the District Court’s power to stay proceedings in one case until a

decision was reached in another case.

      By contrast, the first case before Judge Kimball of this court, SUWA et. al. v.

BLM, et. al., 2:21-cv-00091-DAK-JCB, has been closed with no activity since May

of 2022, for two years. There is no consent decree, and the Court did not “retain

jurisdiction or issue an order incorporating the terms of the settlement.” Dkt 60, at 3.

Moreover, the claims involved in the first case are not the same as those involved in

the second case before this court, State of Utah, et. al v. Haaland, et. al., 2:24-cv-

00172-TS-DAO. In the first case, SUWA pursued its sue and settle strategy with the

Biden Administration to have the BLM close an additional 120 miles of open roads

after the issuance if a final Record of Decision in the San Rafael Desert TMP. In this
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second case, Plaintiffs, the State of Utah, SITLA and Emery County, who were

included as intervenors in the first case but denied any participation in the SUWA

sue and settle process, now challenge a new TMP and seek to compel the BLM to do

the exact opposite: re-open the 120 miles of roads which were arbitrarily closed for

no reason other than their location in what SUWA considers “Red Rock

Wilderness.”1

        This case should be governed by the standard rule followed generally by

Federal District Courts that consolidation is inappropriate in an action that has been

dismissed, where judgment has been entered, and the case is closed, reasoning that

consolidation would not increase efficiency or judicial economy. Tawfiq v. Dufresne,

2022 WL 1592716 (E.D. Mich. 2022). In Tawfiq the Michigan Federal District Court

thoroughly examined this standard rule explaining that Fed. R. Civ. P. 42 specifically

addresses consolidation of “actions before the court,” and once a case is closed, it is

no longer “before the court.” Northington v. Abdellatif, No. 16-cv-12931, 2020 WL

1808538, at *3 (E.D. Mich. Apr. 9, 2020) See also: Adelson v. Ocwen Loan

Servicing, LLC, No. 19-cv-13569, 2020 WL 6580628 at *5 (E.D. Mich. Nov. 10,

2020) (noting that a motion to consolidate would not be granted “because it is not

appropriate to consolidate the instant action with the closed case”); Switek v.



1
 SUWA’s Red Rock Wilderness Act is a bill that aims to designate over 8 million acres of Federal Land in Utah as
Wilderness. It has been introduced many times over the last 25 years, usually by Senator Richad J. Durbin, D. Ill. (See
Senate Bill 1535, 2021), and supported by legislators from states other than Utah. Representative Melanie Ann
Stansbury, D. N.M., introduced it as House Bill 3031 in 2023. No version of the bill has ever passed.
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Midland Cnty., No. 21-cv-12184, 2022 WL 533043 at *1 (E.D. Mich. Feb. 22, 2022)

(agreeing “with its sibling courts that consolidation is not appropriate” with closed

cases); Nazario v. Thibeault, No. 3:21-cv-216, 2022 WL 633733, at *7-8 (D. Conn.

Mar. 4, 2022) (finding it inappropriate to consolidate closed actions with actions that

are still pending before the court because “[d]ismissed cases are no longer ‘before

the court’ as required by Rule 42(a)”); Mainstream Advertising, Inc. v. Moniker

Online Servs., LLC, No. 17-cv-22714, 2017 WL 9672798, at *1 (S.D. Fla. Sept. 27,

2017) (collecting cases holding that it is inappropriate to consolidate a closed case

with an open case); Abels v. Skipworth, No. C10-5033BHS, (W.D. Wash. June 9,

2010) (a request to transfer and consolidate a case with a prior closed case is

inappropriate because Rule 42 (a) applies to actions before the court, and the prior

case is no longer an action before the Court); Tormasi v. Hayman, No. CIV. 3:08-

CV-4950, (D.N.J. Oct. 15, 2009) (Consolidating an active case with a closed case

does not promote the administration of justice); Northington v. Abdellatif, No. 16-cv-

12931, 2020 WL 1808538, at *3 (E.D. Mich. Apr. 9, 2020) (“Consolidating a closed

case with an open case does not increase efficiency or economy in administering

court business and is therefore not permitted under Federal Rule of Civil Procedure

42.”); Gamboa v. Ford Motor Co., 381 F. Supp. 3d 853, 866 (E.D. Mich. 2019)

(“Consolidation is not justified or required simply because the actions include a

common question of law or fact.”). Tawfiq, at 3.


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      There is nothing unique about the case closed by Judge Kimball or the case

before this court that warrants a departure from this standard rule.



      In Shump v. Balka, 574 F.2d 1341 (10th Cir. 1978), the Tenth Circuit Court of

Appeals held that the movant bears the burden to establish (1) that consolidation

would promote trial convenience and economy in administration; and (2) that

movant would suffer injury in the absence of consolidation. Id. at 1344. Other than

assert that transfer would eliminate the need for this court to become familiar with

the history of San Rafael Desert travel management planning, SUWA has not

established that consolidation would promote trial convenience and economy in

administration and has not even addressed the issue of any injury it might suffer.

      For the foregoing reasons SUWA’s Motion to Transfer should be stricken and

the judges of this court should decline to consolidate or transfer State of Utah, et. al

v. Haaland, et. al., 2:24-cv-00172-TS-DAO from this court to SUWA et. al. v. BLM,

et. al., 2:21-cv-00091-DAK-JCB, a case that has been closed for two years, is no

longer pending, is not subject to a consent decree or order incorporating the terms of

a settlement, and over which the Court did not retain jurisdiction.

       DATED this 14th day of May 2024.



                                                /s/ Roger R. Fairbanks
                                                Assistant Attorney General
                                                Attorney for Plaintiffs

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                                 CERTIFICATE OF SERVICE

        I certify that on this 14th day of May 2024, the undersigned electronically filed the

foregoing OBJECTION TO AND MOTION TO STRIKE SUWA’S MOTION TO

TRANSFER with the Clerk of the Court using the CM/ECF system which will send notification

of this filing to all counsel of record.



                                              /s/ Roger R. Fairbanks
                                              Assistant Attorney General
                                              Attorney for Plaintiffs




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